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 PROB 12C                                                                             Report Date: August 17, 2017
(6/16)

                                       United States District Court

                                                       for the

                                        Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Joshua J. Johnson                         Case Number: 0980 2:15CR00144-SMJ-5
 Address of Offender: Absconder
 Name of Sentencing Judicial Officer: The Honorable Salvador Mendoza, U.S. District Judge
 Date of Original Sentence: September 13, 2016
 Original Offense:        Bank Fraud, 18 U.S.C. § 1344(1) & (2)
 Original Sentence:       Prison - 9 months                  Type of Supervision: Supervised Release
                          TSR - 36 months
 Asst. U.S. Attorney:     Allyson Edwards                    Date Supervision Commenced: July 18, 2017
 Defense Attorney:        Federal Defender’s Office         Date Supervision Expires: July 17, 2020


                                          PETITIONING THE COURT

                To issue a warrant.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            1           Standard Condition # 13: The defendant must allow the probation officer to visit the
                        defendant at reasonable times at his or her home or elsewhere, and the defendant must permit
                        the probation officer to take any items prohibited by the conditions of the defendant’s
                        supervision that he or she observes in plain view.

                        Supporting Evidence: On August 8, 2017, Mr. Joshua Johnson signed his conditions
                        relative to case number 2:15CR00144-SMJ-5, indicating that he understood all conditions
                        as ordered by the Court. Specifically, Mr. Johnson was made aware by his U.S. probation
                        officer that he was required to allow the supervising officer to make contacts with him while
                        in the community.

                        The client is alleged to have violated standard condition number 13 by residing at a place
                        other than the address he provided to U.S. Probation and by not working at his primary place
                        of employment since August 14, 2017.

                        Specifically, on August 15, 2017, the undersigned officer received a telephone call from the
                        client’s girlfriend and sponsor who indicated she had not heard from the client on the day
                        in question to take him to a mandatory appointment with his state community corrections
                        officer that they had previously discussed that morning. The undersigned officer attempted
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                 multiple telephone calls to the client on the day in question, leaving multiple voice mails,
                 and requesting a return call to schedule a home contact; however, both voice mails went
                 without response.

                 On both August 16 and 17, 2017, the undersigned officer again made contact with the
                 client’s sponsor who indicated she had not seen the client since the morning of August 15,
                 2017. She was not aware of his current location and he was not responding to her voice mails
                 and text messages.

                 On August 16, 2017, the undersigned officer left a voice mail and sent a text message to the
                 client directing him to report to U.S. Probation on August 17, 2017, at 8 a.m., however, this
                 directive and voice mail again went without response.

                 On August 17, 2017, the undersigned officer contacted Coeur d’Alene Windows, where the
                 client was previously employed, and was informed the client had not checked in for work
                 since Monday (August 14, 2017). Mr. Johnson’s whereabouts and his current location for
                 contact in the community remains unknown to the undersigned officer.
          2      Standard Condition # 18: The defendant must follow the instructions of the probation
                 officer related to the conditions of supervision.

                 Supporting Evidence: On August 8, 2017, Mr. Joshua Johnson signed his conditions
                 relative to case number 2:15CR00144-SMJ-5, indicating that he understood all conditions
                 as ordered by the Court. Specifically, Mr. Johnson was made aware by his U.S. probation
                 officer that he was required to follow all directives provided by the undersigned officer.

                 Mr. Johnson is alleged to have violated standard condition number 18 by failing to report
                 to U.S. Probation as directed on August 17, 2017.

                 Specifically, on August 16, 2017, after being unable to locate or make contact with the client
                 by using his primary contact number or by contacting his sponsor and girlfriend, the
                 undersigned officer left a voice mail from Mr. Johnson on his cell phone directing him to
                 report to U.S. Probation at 8 a.m. on August 17, 2017. As of the writing of this report, Mr.
                 Johnson has failed to report as directed and his current location for contact remains unknown
                 to the undersigned officer.
          3      Special Condition # 19: The defendant shall complete a mental health evaluation and follow
                 any treatment recommendations of the evaluating professional which do not require forced
                 or psychotropic medication and/or inpatient confinement, absent further order of the Court.
                 The defendant shall allow reciprocal release of information between the supervising officer
                 and treatment provider. The defendant shall contribute to the cost of treatment according to
                 his ability to pay.

                 Supporting Evidence: On August 8, 2017, Mr. Joshua Johnson signed his conditions
                 relative to case number 2:15CR00144-SMJ-5, indicating that he understood all conditions
                 as ordered by the Court. Specifically, Mr. Johnson was made aware by his U.S. probation
                 officer that he was being referred to the contract vendor for a mental health evaluation.

                 The client is alleged to have violated special condition number 19 by failing to attend his
                 mental health assessment previously scheduled with the provider on August 16, 2017.
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                       Specifically, on August 16, 2017, the undersigned officer received a phone call from the
                       contract mental health provider who indicated the client had failed to appear for his
                       assessment previously scheduled for August 16, 2017, at 1100 hours.

          4            Special Condition # 22: The defendant shall abstain from the use of illegal controlled
                       substances, and shall submit to urinalysis and sweat patch testing, as directed by the
                       supervising officer, but no more than 6 tests per month, in order to confirm continued
                       abstinence from these substances.

                       Supporting Evidence: On August 8, 2017, Mr. Joshua Johnson signed his conditions
                       relative to case number 2:15CR00144-SMJ-5, indicating that he understood all conditions
                       as ordered by the Court. Specifically, Mr. Johnson was made aware by his U.S. probation
                       officer that he was being referred to the contract vendor for random urinalysis testing, was
                       provided the color in which to listen for on the color line, and was directed to report for
                       testing if and when his color was called.

                       The client is alleged to have violated special condition number 22 by failing to report for
                       urinalysis testing when his color was called by the contract vendor on August 16, 2017.

                       Specifically, on August 17, 2017, the undersigned officer received notification from Alcohol
                       Drug Education Prevention and Treatment, that the client failed to appear for random
                       urinalysis testing with the provider on August 16, 2017, following his assigned color being
                       called.

The U.S. Probation Office respectfully recommends the Court issue a warrant for the arrest of the offender to answer
the allegations contained in this petition.
                                          I declare under penalty of perjury that the foregoing is true and correct.
                                                            Executed on:     August 17, 2017
                                                                             s/Chris Heinen
                                                                             Chris Heinen
                                                                             U.S. Probation Officer



 THE COURT ORDERS

 [X ]     The Issuance of a Warrant
 [ ]      The Issuance of a Summons

                                                                             Signature
                                                                               gnature of Judicial Officer

                                                                              08/21/2017
                                                                             Date
